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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE



 ARENDI S.A.R.L.,

                 Plaintiff,
                                                               C.A. No. 13-919-JLH
        v.

 GOOGLE LLC,

                 Defendant.



                                     [PROPOSED] ORDER

       The Court, having considered non-party Samsung Electronics Co., Ltd. and Samsung

Electronics America, Inc. Unopposed Motion to Seal Portions of the Trial Transcripts and

Exhibits (the “Motion”), as well as all submissions related thereto,

                                  6th day of September
       IT IS HEREBY ORDERED, this ___        ________, 2023, that the Motion is

GRANTED. Exhibit PX-77 (also referenced at trial as DTX-283) (Ex. D) shall be redacted in its

entirety. The transcripts shall be redacted as follows:

   1) April 24 Transcript (Ex. A):
             a. Pg. 159, l. 15
             b. Pg. 160, ll. 8, 12-13, 15-17
             c. Pg. 161, ll. 8-10
             d. Pg. 233, ll. 3-5, 7,10-13, 22
             e. Pg. 234, ll. 1, 2, 19, 20, 25
             f. Pg. 235, ll. 1, 3-7, 25
             g. Pg. 236, ll. 1, 3-9,13-15,17-22
             h. Pg. 237, ll. 2, 3, 5, 6, 11, 12, 18, 20-22
             i. Pg. 238, ll. 3-5, 6, 8, 9, 15-16, 22-25
             j. Pg. 239, ll. 1-6, 9-10
             k. Pg. 247, ll. 22-25
             l. Pg. 248, ll. 1-2, 15-21
             m. Corresponding portions of the index related to these redactions

   2) April 26 Transcript (Ex. B):
         a. Pg. 578, l. 24
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          b.   Pg. 581, ll. 19-22
          c.   Pg. 592, ll. 22, 24-25
          d.   Pg. 593, ll. 3-4
          e.   Pg. 627, ll. 11-12
          f.   Pg. 628, ll. 2, 5
          g.   Corresponding portions of the index related to these redactions


   3) May 1 Transcript (Ex. C):
        a. Pg. 1291, l. 6
        b. Pg. 1295, l. 9
        c. Pg. 1297, ll. 18-19
        d. Pg. 1299, ll. 17-18
        e. Pg. 1300, ll. 12, 21
         f. Pg. 1301, ll. 11
        g. Corresponding portions of the index related to these redactions


                                             ___________________________________
                                             The Honorable Jennifer L. Hall
                                             United States Magistrate Judge
